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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    HERITAGE FOUNDATION, et al.,

                           Plaintiffs,

                    v.                                   Case No. 1:24-cv-00952-ACR

    U.S. DEPARTMENT OF JUSTICE,

                           Defendant.



                         REQUEST FOR A PRE-MOTION CONFERENCE

          Defendant, the United States Department of Justice, pursuant to the Court’s Minute Order,

June 17, 2024, respectfully requests that the Court schedule a pre-motion conference.

          This case under Freedom of Information Act (“FOIA”) concerns two law enforcement rec-

ords: the written transcripts of Special Counsel Robert Hur’s two interviews of Mark Zwonitzer,

an author and biographer for President Biden. These records were created as part of Special Coun-

sel Hur’s investigation into the possible unauthorized removal and retention of classified docu-

ments at various locations associated with President Biden. As part of the investigation, Zwonitzer

voluntarily agreed to sit for two interviews with the Special Counsel’s Office (“SCO”), and SCO

made both audio recordings and transcripts of the two interviews.

          At the end of the investigation, and pursuant to the Department’s special counsel regula-

tion, Mr. Hur submitted a confidential report to Attorney General Garland explaining his prosecu-

tion and declination decisions. The Report conveyed both Mr. Hur’s conclusion that “no criminal

charges are warranted,”1 Hur Report, at 1, and extensive discussion of the investigation and the

bases for the decisions he reached, see generally id. The Department produced a copy of the Hur

Report to Congress and placed it on the Department’s public-facing website without any further

redactions or modifications. The Department also produced to Congress and released to the public

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    The Hur Report is available at: https://www.justice.gov/sco-hur.
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redacted copies of the transcripts of both President Biden’s and Mr. Zwonitzer’s interviews with

SCO.

       In this FOIA lawsuit, Plaintiffs have requested the transcripts of Mr. Zwonitzer’s two vol-

untary interviews with SCO, see ECF No. 1, ¶ 17, and the Department produced redacted copies

on June 12, 2024. The Department has withheld portions of the transcripts as exempt from disclo-

sure under FOIA Exemptions 3, 5, 6, 7(C), 7(E), and 7(F).2 After discussions with Plaintiffs, the

Department understands that Plaintiffs do not intend to challenge withholdings under Exemptions

3, 7(E), and 7(F). Since no genuine dispute exists to any material fact, the Department intends to

move for summary judgment pursuant to Federal Rules of Civil Procedure 56.

       In its summary judgment briefing, the Department anticipates it will present the following

arguments. First, the Department properly withheld portions of the transcripts under Exemption

5, which “incorporates the privileges available to Government agencies in civil litigation,” U.S.

Fish & Wildlife Serv. v. Sierra Club, Inc., 592 U.S. 261, 267 (2021), including “qualified” privi-

leges that otherwise could be overcome in civil litigation by a showing of need, FTC v. Grolier,

Inc., 462 U.S. 19, 27 (1983). Here, portions of the transcripts are exempt under Exemption 5 as

protected attorney work product.3 “The work-product doctrine protects materials ‘prepared in an-
ticipation of litigation or for trial by or for another party or its representative.’” Judicial Watch,

Inc. v. U.S. Dep’t of Homeland Sec., 926 F. Supp. 2d 121, 137 (D.D.C. 2013). The transcripts

meet this standard because they memorialize a witness interview, carried out during a criminal

investigation, that was constructed and thought out by prosecutors. See, e.g., Martin v. Off. of

Special Couns., MSPB, 819 F.2d 1181, 1183, 1187 (D.C. Cir. 1987) (holding that “eleven signed


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  The Department determined that the entirety of the two transcripts could be withheld under Ex-
emptions 5 and 7(C), but nevertheless released portions of the two transcripts on a discretionary
basis.
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  Exemptions 5, 6, and 7(C), all have threshold requirements: Exemption 5 requires that the records
be “inter-agency or intra-agency memorandums or letters,” id. § 552(b)(5); Exemption 6 requires
that the records be “personnel and medical files and similar files,” id. § 552(b)(6); and Exemption
7(C) requires that the records be “compiled for law enforcement purposes,” id. § 552(b)(7). The
Department intends to argue that the interview transcripts meet these threshold requirements.
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witness statements” “fall within the work-product privilege”); In re HealthSouth Corp. Sec. Litig.,

250 F.R.D. 8, 12 (D.D.C. 2008) (finding that “nearly verbatim transcripts of the FBI’s questions

and [a witness’s] answers” were “primarily fact work product” and otherwise opinion work prod-

uct); United States ex rel. Landis v. Tailwind Sports Corp., 303 F.R.D. 419, 425 (D.D.C. 2014)

(“[C]ourts in this district have held substantially verbatim witness statements contained in inter-

view memoranda . . . to be ‘fact’ rather than ‘opinion’ work-product.”).

       Second, the Department properly withheld portions of the transcript under Exemptions 6

and 7(C) because those portions’ disclosure would be an unwarranted invasion of Mr. Zwonitzer’s

personal privacy. These exemptions require the agency to balance the individual’s privacy rights

against the public interest in disclosure. See Dep’t of Just. v. Reps. Comm. for Freedom of the

Press, 489 U.S. 749, 762 (1989). Here, Mr. Zwonitzer’s individual privacy rights are at their

zenith: individuals investigated but not charged with a crime have a “distinct privacy interest in

the contents of the investigative files.” Citizens for Resp. & Ethics in Wash. v. U.S. Dep’t of

Justice, 746 F.3d 1082, 1092 (D.C. Cir. 2014) (CREW) (emphasis removed). In fact, “‘where

individuals have been investigated but not charged with a crime,’ disclosure of material properly

exempt under Exemption 7(C) ‘represents a severe intrusion on the privacy interests of the indi-

vidual[] in question.’” Judicial Watch v. National Archives and Records Administration, 876 F.3d

346, 349 (D.C. Cir. 2017).

       On the other side of the balance, the public interest served by the release of the redacted

portions of the transcripts are minimal. The public’s interest in the activities of Special Counsel

Hur – the “only relevant public interest in the FOIA balancing analysis,” CREW, 746 F.3d at 1093

(cleaned up) – would not be served by disclosure here. Moreover, the voluminous information

already available to the public – Special Counsel Hur’s unredacted report; the written transcript of

Mr. Hur’s interview with President Biden himself; and the unredacted portions of the transcripts

of Mr. Zwonitzer’s interview – more than adequately meet whatever public interest might be

served by release of the redacted portions of these transcripts. Indeed, two binding cases have

already applied these principles to affirm the withholding of sensitive, law-enforcement records

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concerning an unindicted individuals interviewed as part of a high-profile government investiga-

tion. See Judicial Watch, 876 F.3d at 350 (withholding draft indictment of Hilary Clinton); Elec-

tronic Privacy Information Center v. U.S. Department of Justice, 18 F.4th 712, 722 (D.C. Cir.

2021) (withholding passages in the Mueller report that would have revealed “additional facts about

individuals that are not disclosed elsewhere and that would be highly stigmatizing”).

         At bottom, “privacy interests are particularly difficult to overcome when law enforcement

information regarding third parties is implicated.” Martin v. Dep’t of Just., 488 F.3d 446, 457

(D.C. Cir. 2007). Mr. Zwonitzer’s privacy interests are not overcome here.4

         Finally, the Department also intends to argue that disclosure of the transcripts would fore-

seeably harm the interests protected by the relevant FOIA exemptions, and that the Department

met its obligation to segregate exempt information from non-exempt information.


    DATED: June 21, 2024                          Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General
                                                  Civil Division

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director

                                                  /s/ Robert W. Meyer
                                                  ROBERT W. MEYER (NY Bar No. 5942842)
                                                  Trial Attorney
                                                  U.S. Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  1100 L Street, N.W., Room 11105

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  Separately, the Department also properly withheld under Exemptions 6 and 7(C) the names and
personal details of government agents and of individuals mentioned in Mr. Zwonitzer’s testimony.
The privacy interests in the “names and addresses of private individuals” in law enforcement files,
SafeCard Servs., Inc. v. S.E.C., 926 F.2d 1197, 1206 (D.C. Cir. 1991), and in the “names and other
identifying data” of government employees, Lesar v. U.S. Dep’t of Just., 636 F.2d 472, 487 (D.C.
Cir. 1980), are significant. Indeed, the “identities of FBI agents [and] third parties mentioned in
an investigative context” are “the very withholdings exemption 7(C) is designed to protect.” Cole-
man v. F.B.I., 13 F. Supp. 2d 75, 79 (D.D.C. 1998). And the public interest in the release of these
names and details is low – their release would provide little if any additional information about the
activities of Special Counsel Hur.
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                             Washington, D.C. 20005
                             Telephone: (202) 305-0872
                             Robert.W.Meyer@usdoj.gov
                             Counsel for the Defendant




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